     Case 3:21-cr-02627-CAB Document 22 Filed 01/31/22 PageID.66 Page 1 of 1




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                              UNITED STATES DISTRICT COURT
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                         SOUTHERN DISTRICT OF CALIFORNIA
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11   UNITED STATES OF AMERICA,                      Case No. 21-CR-2627-CAB
12               Plaintiff,                         ORDER ON JOINT MOTION
                                                    FOR CONTINUANCE OF
13         v.                                       STATUS HEARING
14   MATTHEW TAYLOR COLEMAN,
15               Defendant.
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17         GOOD CAUSE HAVING BEEN SHOWN, IT IS ORDERED that the joint
18   motion is granted in part. The Status Hearing set for February 3, 2022, is hereby
19   vacated. The matter shall just proceed with the Motion Hearing/Trial Setting currently
20   set on the Court’s docket on May 19, 2022, at 9:30 AM.
21         IT IS SO ORDERED.
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23   DATED: 1/31/2022
                                         HON. CATHY ANN BENCIVENGO
24                                       United States District Court Judge
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